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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

     MICHAEL RAY STAFFORD,                          )
     CHARLES SMITH and DOUGLAS SMITH,               )
     individually, and on behalf of those           )
     similarly situated,                            )
                                                    )
                    Plaintiffs,                     )
                                                    )
            v.                                      )   Case No. 1:17-cv-289-JMS-MJD
                                                    )
      ROBERT E. CARTER, JR., et al.,                )
                                                    )
                    Defendants.                     )

                      STIPULATED FACTS AND ISSUES TO RESOLVE

           Plaintiffs, Michael Ray Stafford, Charles Smith and Douglas Smith, individually,

     and class members, by counsel, and Defendants, Commissioner Robert E. Carter, Jr.,

     and the Chief Medical Officer of the Indiana Department of Correction, in their official

     capacities, by counsel, hereby file the following facts and issues to resolve, pursuant to this

     Court’s order. [Filing No. 209, p. 1.]

     I.    Stipulated Facts.

           The parties have stipulated to the following facts for the purposes of the remedy

     hearing to be held in this matter:

            1.      “Hepatitis” means inflammation of the liver: Hepatitis C is a contagious

            viral disease that causes inflammation in the liver with eventual progression to

            cirrhosis, end-stage liver disease with liver failure and liver cancer.

            2.      Patients suffering from chronic hepatitis C may suffer from non-specific

            symptoms such as fatigue, joint pains, nerve pain, skin disorders to liver related

            symptoms from liver failure such as jaundice, ascites (fluid accumulation in
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           abdomen), hepatic encephalopathy (confusion from high ammonia), gastro-

           intestinal bleeding, and liver cancer.

           3.     HCV infection is generally transmitted through blood, blood products, or

           intravenous drug use, and occurs in two stages: acute and chronic.

           4.     Acute HCV infection is the initial phase within the first six months of

           exposure to the virus, when roughly 15-25% of infected individuals self-resolve

           and do not develop chronic infection.

           5.     Individuals with chronic HCV do not self-correct; these individuals are

           infected for life if not treated with appropriate medication.

           6.     Wexford of Indiana, LLC (“Wexford”), is the current medical contract

           vendor responsible for the provision of medical care to offenders incarcerated

           within the Indiana Department of Correction, including care for HCV, pursuant

           to its contract for services with the Indiana Department of Correction.

           7.     The Indiana Department of Correction provides information and

           guidance to its medical contract vendor concerning the management of

           incarcerated people with chronic HCV pursuant to its Policy 3.09, entitled

           “Management of Hepatitis C” found at Filing No. 166-6.

           8.     Indiana Department of Correction Policy 3.09 indicates that its health

           care provider shall treat incarcerated people with chronic HCV pursuant to the

           Federal Bureau of Prisons’ “Evaluation and Management of Chronic Hepatitis C

           Virus (HCV) Infection,” found at Filing No. 173-10.




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              9.        As of ______, Wexford reports that there are _____ inmates incarcerated

              by the IDOC with chronic HCV.1

     II.    Issues to Resolve.

            The parties submit the following issues should be resolved at the remedy hearing:

            1.     Whether the Court should issue an injunction;

            2.     If the Court does issue an injunction, whether it should mandate treatment

                   with direct-acting antivirals (“DAAs”) for class members with chronic

                   Hepatitis C (“HCV”);

            3.     If the Court does mandate treatment with DAAs for class members with

                   chronic HCV, should treatment be universal or should treatment be cut off at

                   a certain level of disease progression; and if the latter, where the cutoff should

                   be; and

            4.     If the Court does mandate treatment with DAAs, what is a realistic timeline

                   for implementation of such a mandate.

     Respectfully submitted,

     FINDLING PARK CONYERS WOODY                         OFFICE OF THE ATTORNEY GENERAL
      & SNIDERMAN, PC


     s/ Mark W. Sniderman                                s/ Jonathan P. Nagy (with permission, by
     Mark W. Sniderman                                   Mark W. Sniderman)
                                                         Jonathan P. Nagy
     One of the Attorneys for Plaintiffs
                                                         One of the Attorneys for Defendants




     1Wexford has recently provided the number of current inmates diagnosed with HCV,
     which counsel are reviewing. The parties will inform the Court of any stipulations they
     are able to reach regarding this number as soon as possible.

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